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                                                               U.S. DISTRICT COURT
                                                                   N.D. OF ALABAMA
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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION


                                                          )
 BRIAN HICKS
                                                          )
                                                          )
           Plaintiff,
                                                          )
                                                          )
 v.
                                                          ) CASE NO.:
                                                          )
 ATLAS TUBE (ALABAMA), INC.,
                                                          ) JURY DEMAND
                                                          )
           Defendants.
                                                          )

                                             COMPLAINT

        Plaintiff complains because of injuries and damages suffered at the hands of Defendant.

                                  STATEMENT OF THE PARTIES

        1.        Plaintiff, Brian Hicks, is domiciled in the State of Florida and is a citizen of

Florida.

        2.        Defendant Atlas Tube (Alabama), Inc. is a corporation formed in Delaware with

its principal place of business located in Illinois.

                                   JURISDICTION AND VENUE

        3.        This Court has subject matter jurisdiction of this civil action on the basis that the

amount in controversy exceeds $75,000, and has diversity of citizenship between the parties

pursuant to 28 U.S.C.S. § 1332.

        4.        Venue is appropriate in this matter under 28 U.S.C. 1391(b) because the events

that give rise to this Complaint occurred in this district.
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                                      UNDISPUTED FACTS

       5.      On or about, February 17, 2018, Plaintiff was an invitee at Defendant’s business

located at 171 Cleage Drive, Birmingham, Jefferson County, Alabama. Plaintiff was a driving an

18-wheel vehicle and was there to pick up a pre-loaded trailer shipment for transport. Plaintiff was

driving for his employer P&S Transportation and in the course and scope of his employment.

       6.      When Plaintiff arrived at Defendant’s facility, he checked in with the security guard

at Defendant’s facility. Even though Defendant’s facility has loading bays equipped with safety

netting that can be affixed to the load, Plaintiff was not directed to such a loading bay. Instead, he

was directed to an area that did not have the proper safety netting. Defendant’s policies prevented

Plaintiff from accessing and/or moving the other trailers. Because all of the loadings bays with

safety netting were full, Plaintiff had no reasonable alternative. In fact, there were no safety

prevention measures in place for Plaintiff.

       7.       The trailer Plaintiff was directed to hook up to was pre-loaded with the shipment

of large pipe. As required by Defendant’s policies, Plaintiff had to strap the load to his trailer and

place a tarp over it. The load was a large pipe that was lubricated with oil. Upon information and

belief, the pipe is lubricated to prevent damage to the product. In order to complete this task,

Plaintiff was required to climb on top of the load to run the tarp over the top of the load and prepare

the load to be strapped. While standing on the top of his load, Plaintiff was approximately twelve

(12) feet off the ground.

       8.      The shipping and/or trucking industry has recognized that “tarping” while

necessary for protecting the contents of the shipment, is dangerous. Beyond safety netting that can

mitigate the damages caused by a fall, tarping systems exist that allow a driver like Plaintiff to tarp

the load from the ground, completely eliminating the risk of falling. Defendant Atlas Tube had no



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such system on the premises available to Plaintiff. While attempting to “tarp the load”, Plaintiff

slipped and fell from the very top of the load. Since there was no safety netting in place, he fell

approximately twelve (12) feet and landed on the pavement. Plaintiff was catastrophically injured

as a result of this fall.

                                      CAUSES OF ACTION

                                             COUNT I
                                             Negligence

        10.      Plaintiff adopts and incorporates by reference all preceding paragraphs.

        11.      Defendant negligently failed to have any safety prevention measures in place to

prevent Plaintiff’s fall. Defendant had loading bays on site that were equipped with proper safety

netting measures that were there to catch individuals if they fell. Defendant negligently failed to

make a loading bay with safety netting available for Plaintiff. Defendant knew or should have

known that Plaintiff was coming to pick up the load in question. Defendant is knowledgeable

about the risk of tarping the load with a full protective system in place. This is evidenced by the

fact that Defendant has loading bays equipped with safety nets to prevent injuries like the one

suffered by Plaintiff. Defendant was further negligent for failing to provide a tarping cable or

pulley system which would have allowed Plaintiff to avoid climbing on top of the load. Defendant

failed to use such safety precautions and required Plaintiff to climb on top of the load, twelve (12)

feet above the ground, on a lubricated and rounded surface to attempt to tarp the load in question.

Said negligence proximately caused Plaintiff to fall.

        12.      Defendant’s negligence proximately caused Plaintiff to fall and suffer catastrophic

injuries and damages to Plaintiff.



                                             COUNT II


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                                            Wantonness

        13.     Plaintiff adopts and incorporates by reference all preceding paragraphs.

        14.     Defendant wantonly failed to have any safety prevention measures in place to

prevent Plaintiff’s fall. Defendant had other loading stations that were equipped with proper safety

netting measures that were there to catch individuals if they fell. The fact that Defendant had such

safety netting measures establishes that Defendant had knowledge that its loading procedures

create a fall risk. Despite this knowledge, Defendant consciously omitted its duty of care to

Plaintiff and wantonly directed Plaintiff into a loading station that did not have the proper safety

prevention measures in place. In doing so, Defendant displayed a reckless disregard for Plaintiff’s

well-being and the consequences of what would happen to Plaintiff if he fell. Similarly, Defendant

knew that there were safer options to tarp the load, which included the use of a tarping cable or

pulley system that would not have required Plaintiff to climb on top of the load. Despite this

knowledge, Defendant consciously omitted its duty of care to Plaintiff and wantonly directly

Plaintiff to tarp the load by climbing on top of the load. Plaintiff subsequently fell and

catastrophically injured himself.

        15.     Defendant’s wanton conduct proximately caused catastrophic injuries and damages

to Plaintiff.

                                           COUNT III
                                    Negligent Failure to Warn

        16.     Plaintiff adopts and incorporate by reference all preceding paragraphs.

        17.     Defendant had a duty to warn Plaintiff that climbing on top of the load, which was

covered in a slippery oil, was a fall risk to Plaintiff. However, Defendant negligently failed to warn

Plaintiff and/or negligently failed to adequately warn Plaintiff of this danger of falling.

Consequently, Plaintiff was unaware of how dangerous it would be for him to climb on top of the


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load. Plaintiff subsequently climbed on top of the load and proceeded to fall to the ground,

catastrophically injuring himself.

       18.     As a proximate result of said Defendant’s negligent conduct, Plaintiff suffered

severe personal injuries and other damages.

                                           COUNT IV
                                        Negligent Training

       19.     Plaintiff adopts and incorporate by reference all preceding paragraphs.

       20.     Defendant negligently failed to train its employee, the security guard in question,

that directed Plaintiff to a pre-loaded trailer with no access to a full protective system. If said

security guard were properly trained for the role she was thrust into, she would have identified the

danger in directing Plaintiff to a station without the full safety prevention measures and would

have notified her supervisor to allow the pre-loaded trailer to be moved into a loading bay with a

full protective system. Said negligent training proximately contributed to Plaintiff’s fall.

       21.     Defendant’s negligent training proximately contributed and/or caused Plaintiff to

fall and suffer catastrophic injuries and damages to Plaintiff.

                                            DAMAGES

       22.     Plaintiff suffered personal injuries as a result of Defendant’s wanton conduct. He

requests that the fact finder award appropriate actual damages to compensate him for medical bills

in the past and future; physical pain and mental anguish in the past and future; physical impairment

in the past and future; lost wages, loss of enjoyment of life, and all other compensatory damages

supported by the evidence.

       23.     Plaintiff also requests that he be awarded pre-judgment and post-judgment interest

as allowed by law, costs of court, and all other damages supported by the evidence and the law.




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                                           Respectfully submitted,

                                           /s/Jeremiah M. Hodges
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CERTIFICATE OF SERVICE

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CT Corporation System
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Montgomery, AL 36104


                                           /s/Jeremiah M. Hodges
                                           Jeremiah M. Hodges




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